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 Honorable Leslie E. Kobayashi                                             February 2, 2025

 United States District Judge
 Prince Kuhio Federal Building
 District of Hawaii 300 Ala Moana Blvd      Honolulu, HI, 96850

 Dear Judge Kobayashi:

 My name is Bill Stackman. I am the former Dean of Students at Harvard’s Graduate School of
 Arts & Science. However, I am not writing to you as a Dean at Harvard, rather in my personal
 capacity as a friend of Martin Kao.

 I met Martin in a course we had together last semester. The title of the course is “Mindfulness,
 Meaning, and Resilience.” It focused on mindfulness as a method of attending to the experience
 of the present moment with full awareness and how finding meaning in our suffering and trials
 can build character, hope, and resilience.

 It was in a serendipitous encounter that I ran into Martin one afternoon at the Harvard Law
 School student center. We shared our personal experiences, trials, and suffering. Including how
 what we studied in the Mindfulness course has helped us cope. Martin was very open and honest
 about his mistakes, current legal trials and challenges.

 The final project of the course required that each graduate credit student select a specific
 population group and present a thesis to the class on how mindfulness would benefit that group.
 Focusing on what “finding meaning" might look like for this group through the lens of
 mindfulness cultivation, and how mindfulness can foster a sense of personal and collective
 growth, healing or sense of purpose for this population group.

 Martin chose to focus his presentation on how mindfulness can help to rehabilitate, bring
 meaning, and reform to those who are or have been incarcerated. He humbly shared his very
 personal mistakes, experiences and pending fate before you. And how it has led him to have this
 emphatic compassion for others who he feels have no resources, voice, or agency.

 I hope that when you do finally meet Martin on February 13, 2025, you will see beyond his past
 and look to the future and see the “Martin” that I and his peers at Harvard see.

 Sincerely,




 William Stackman



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